    Case: 16-10157, 07/25/2016, ID: 10061467, DktEntry: 14, Page 1 of 29




                               NO. 16-10157

               IN THE UNITED STATES COURT OF APPEALS
                       FOR THE NINTH CIRCUIT
                       ______________________

                      UNITED STATES OF AMERICA,
                         PLAINTIFF-APPELLEE,

                                      V.


                            ROBIN DIMICELI,
                         DEFENDANT-APPELLANT
                         ______________________

        ON APPEAL FROM THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF CALIFORNIA
                   D.C. NO. 2:12-CR-328-WBS
                     ______________________

   UNITED STATES’S OPPOSITION TO MOTION TO STAY
             EXECUTION OF SENTENCE
                ______________________


PHILLIP A. TALBERT                                            ROGER YANG
Acting United States Attorney                            TODD A. PICKLES
                                                 Assistant U.S. Attorneys
CAMIL A. SKIPPER                             Eastern District of California
Assistant U.S. Attorney                         501 I Street, Suite 10-100
Appellate Chief                             Sacramento, California 95814
                                               Telephone: (916) 554-2700

                                                     Attorneys for Appellee
      Case: 16-10157, 07/25/2016, ID: 10061467, DktEntry: 14, Page 2 of 29




                                      TABLE OF CONTENTS

Table of Contents ................................................................................... i

Table of Authorities ............................................................................ iii

Introduction .......................................................................................... 6

Bail Status ............................................................................................ 6

Statement of the Case........................................................................... 2

     I. Dimiceli is convicted of mail fraud and loan fraud
        as part of a mortgage fraud scheme. ......................................... 2

     II. The district court sentences Dimiceli to 36 months
         imprisonment. ............................................................................ 4

     III. The district court denies Dimiceli’s motion for bail
          pending appeal. .......................................................................... 5

Argument .............................................................................................. 6

     I. The court should deny Dimiceli’s motion for bail
        pending appeal because she failed to raise any
        substantial questions on appeal. ............................................... 6

          A. Standard of Review .............................................................. 6

          B. Dimiceli’s below-Guidelines sentence was
             substantively reasonable. ..................................................... 7

          C. The court did not plainly err in calculating loss. ............... 10

          D. There was sufficient evidence of mailings to
             support Dimiceli’s mail fraud convictions.......................... 12

          E. Dimiceli’s claims of ineffective assistance are
             not ripe and otherwise lack merit. ..................................... 14

               1. An ineffective assistance claim is premature ............... 14




                                                    i
      Case: 16-10157, 07/25/2016, ID: 10061467, DktEntry: 14, Page 3 of 29




               2. Dimiceli failed to show a substantial
                  question regarding the performance of her
                  trial counsel ................................................................... 15

     II. Dimiceli’s Rule 9 argument establishes her own
         violation of the rule. ................................................................. 18

Conclusion ........................................................................................... 20

Statement of Related Cases................................................................ 21

Certificate of Service........................................................................... 23




                                                   ii
     Case: 16-10157, 07/25/2016, ID: 10061467, DktEntry: 14, Page 4 of 29




                                  TABLE OF AUTHORITIES

                                      Federal Cases

Cullen v. Pinholster,
  563 U.S. 170 (2011) ........................................................................ 16

Horton v. Mayle,
  408 F.3d 570 (9th Cir. 2005) .......................................................... 17

Jackson v. Virginia,
  443 U.S. 307 (1979) ........................................................................ 13

McElvain v. Lewis,
  283 F. Supp. 2d 1104 (C.D. Cal. 2003) ........................................... 17

Rita v. United States,
   551 U.S. 338 (2007) .......................................................................... 8

Strickland v. Washington,
   466 U.S. 668 (1984) .................................................................. 16, 18

United States v. Armstead,
  552 F.3d 769 (9th Cir. 2008) .......................................................... 11

United States v. Aubrey,
  800 F.3d 1115 (9th Cir. 2015) ........................................................ 10

United States v. Bennett,
  444 F.2d 535 (9th Cir. 1971) .......................................................... 19

United States v. Birges,
  723 F.2d 666 (9th Cir. 1984) .......................................................... 15

United States v. Blinkinsop,
  606 F.3d 1110 (9th Cir. 2010) .......................................................... 7



                                                iii
     Case: 16-10157, 07/25/2016, ID: 10061467, DktEntry: 14, Page 5 of 29




United States v. Carter,
  560 F.3d 1107 (9th Cir. 2009) .......................................................... 7

United States v. Carty,
  520 F.3d 984 (9th Cir. 2008) ........................................................ 7, 8

United States v. Cupa-Guillen,
  34 F.3d 860 (9th Cir. 1994) .............................................................. 7

United States v. Ellsworth,
  456 F.3d 1146 (9th Cir. 2006) .......................................................... 7

United States v. Endicott,
  803 F.2d 506 (9th Cir. 1986) ............................................................ 8

United States v. Handy,
  761 F.2d 1279 (9th Cir. 1985) .......................................................... 6

United States v. Houtchens,
  926 F.2d 824 (9th Cir. 1991) .......................................................... 14

United States v. Jennings,
  711 F.3d 1144 (9th Cir. 2013) ........................................................ 10

United States v. Laughlin,
  933 F.2d 786 (9th Cir. 1991) .......................................................... 14

United States v. Meyers,
  847 F.2d 1408 (9th Cir. 1988) ...................................................... 7, 8

United States v. Montoya,
  908 F.2d 450 (9th Cir. 1990) ............................................................ 6

United States v. Morris,
  744 F.3d 1373 (9th Cir. 2014) .......................................................... 4

United States v. Olano,
  507 U.S. 725 (1993) ........................................................................ 12


                                               iv
      Case: 16-10157, 07/25/2016, ID: 10061467, DktEntry: 14, Page 6 of 29




United States v. Pelisamen,
  641 F.3d 399 (9th Cir. 2011) .......................................................... 12

United States v. Pope,
  841 F.2d 954 (9th Cir. 1988) .......................................................... 15

United States v. Ross,
  206 F.3d 896 (9th Cir. 2000) .......................................................... 14

United States v. Stargell,
  738 F.3d 1018 (9th Cir. 2013) .................................................. 10, 11

United States v. Steele,
  733 F.3d 894 (9th Cir. 2013) .......................................................... 14

United States v. Wheeler,
  795 F.2d 839 (9th Cir. 1986) .......................................................... 19

United States v. Williams,
  693 F.3d 1067 (9th Cir. 2012) ........................................................ 10


                                     Federal Statutes

18 U.S.C. § 1014 .................................................................................... 2

18 U.S.C. § 1341 .................................................................................... 2

18 U.S.C. § 3143(b) ................................................................... 6, 19, 20

18 U.S.C. § 3553(a) ............................................................................... 5

28 U.S.C. § 2255 .................................................................................. 14
                                       Federal Rules

Fed. R. App. P. 9(a)(1) ..................................................................... 1, 18



                                                  v
    Case: 16-10157, 07/25/2016, ID: 10061467, DktEntry: 14, Page 7 of 29




                               INTRODUCTION

     The United States opposes Robin Dimiceli’s motion for bail

pending appeal because she does not raise a substantial question of

law or fact. Dimiceli’s below-Guidelines sentence was not

substantively unreasonable, nor does it create an Equal Protection

Clause violation. The District Court properly accepted trial counsel’s

concession regarding the inevitability of the loss calculation, and

noted that there was ample evidence concerning the mailings to

survive review for sufficiency of the evidence. Finally, Dimiceli’s

failure to comply with Fed. R. App. P. 9(a)(1) establishes that this

appeal is taken for the purposes of delay and should be grounds for

denial of the motion. Therefore, this Court should deny her motion

for bail pending appeal.

                                 BAIL STATUS

     Dimiceli is currently in the custody of the Federal Bureau of

Prisons. Her projected release date is January 22, 2019.




                                      vi
    Case: 16-10157, 07/25/2016, ID: 10061467, DktEntry: 14, Page 8 of 29




                          STATEMENT OF THE CASE

     I.     Dimiceli is convicted of mail fraud and loan fraud
            as part of a mortgage fraud scheme.

     On November 10, 2015, a jury convicted Dimiceli of six counts

of mail fraud in violation of 18 U.S.C. § 1341 and six counts of false

statements on loan applications, in violation of 18 U.S.C. § 1014.

Dimiceli’s co-defendant, Edward Khalfin, was convicted of 13 counts

of mail fraud and 13 counts of false statements on loan aplications.

Both Dimiceli and Khalfin were mortgage brokers in a mortgage

fraud scheme orchestrated by Volodymyr Dubinsky and Leonid

Doubinski (“the Dubinsky brothers”), who built and sold homes in

Sacramento, Carmichael, and Copperopolis, California.

     Dimiceli was a licensed real estate salesperson who brokered 10

mortgage loans for buyers in the Dubinsky developments, including

three purchases of her own. Each of the loan applications for the six

charged transactions, as well as for Dimiceli’s purchases, contained

lies about the borrowers’ employment, income, assets, and intent to

occupy as primary residences. In many instances, Dimiceli

submitted loan applications for the same borrower to two different




                                      2
    Case: 16-10157, 07/25/2016, ID: 10061467, DktEntry: 14, Page 9 of 29




lenders for different properties at the same time to push through as

many loans as possible.

     Jhonvieve Soria, a loan processor for Dimiceli, testified that

Dimiceli would instruct Soria to calculate and submit income

amounts necessary to qualify for loans Soria was processing for

Dimiceli / the Dubinsky brothers. Many of the straw buyers who

purchased homes in the Dubinksy brothers’ developments also

testified that, although the loan documents stated that Dimiceli had

interviewed and obtained information from the the borrower, she

never met or spoke with them about the loans, and the information

on the applications did not come from them.

     When Dimiceli bought properties, she received kickbacks from

the Dubinsky brothers that were hidden from lenders through false

invoices for work that was never done or non-existent upgrades. The

evidence also demonstrated that Dimiceli grossly misrepresented her

income in the loan applications for her houses, asserting she was

making upwards of $35,000 per month for one purchase. At trial, her

bank records, tax records, and the testimony of her business partner

showed she was making only a small fraction of that amount.



                                      3
   Case: 16-10157, 07/25/2016, ID: 10061467, DktEntry: 14, Page 10 of 29




     II.   The district court sentences Dimiceli to 36 months
           imprisonment.

     On April 11, 2016, District Judge William B. Shubb sentenced

Dimiceli and her co-defendant Khalfin, as well as three cooperating

defendants who pleaded guilty in a related case.

     The Probation Officer prepared a presentence investigation

report and determined the loss caused by the mortgage fraud scheme

based on the amount of the loans obtained for each property less the

amount recovered through foreclosure. See United States v. Morris,

744 F.3d 1373, 1375 (9th Cir. 2014); PSR, ¶¶ 10, 11, 20. For

Dimiceli, the amount was $2.07M, resulting in a 16-level increase

under the Guidelines. Applying a two-level upward adjustment for

abuse of skill or trust, the total offense level was 25, and the advisory

sentencing range was 57-71 months.

     Dimiceli filed written objections to both the loss enhancement

and the abuse of trust adjustment. With respect to the loss

enhancement, she argued that was no loss was suffered due to the

housing bubble and the securitization of mortgage loans, and that

the government did not present evidence of the foreclosures at trial

that the Probation Officer used to calculate loss. At the sentencing


                                      4
   Case: 16-10157, 07/25/2016, ID: 10061467, DktEntry: 14, Page 11 of 29




hearing, Dimiceli waived an evidentiary hearing to challenge the

prosecution’s proffer as to the loss amount. The Court overruled

Dimiceli’s objections, rejected her legal theories, and found the total

offense level was 25. The United States requested a sentence of 57

months, the low end of the advisory Guidelines range.

     Dimiceli’s allocution implied that she was a victim of the

Dubinsky brothers and unknowingly submitted false loan

applications (she had no explanation for the lies on her own loan

applications). The Court considered the factors under 18 U.S.C.

§ 3553(a) and varied downward to impose a sentence of 36 months

imprisonment. Dimiceli was set to self-surrender on June 14, 2016.

     III. The district court denies Dimiceli’s motion for bail
          pending appeal.

     On June 13, 2016, the District Court heard Dimiceli’s “motion

to stay execution of sentence” pending appeal. Dimiceli made two

claims of substantial questions on appeal: (1) her trial counsel was

constitutionally ineffective and (2) there was insufficient evidence of

mailings to support her mail fraud convictions. The District Court

rejected her arguments and concluded that she failed to raise

substantial factual or legal issues and denied her motion. The court


                                      5
   Case: 16-10157, 07/25/2016, ID: 10061467, DktEntry: 14, Page 12 of 29




noted that Dimiceli’s purported ineffectiveness claim was based on

speculation and facts outside the record.

                                 ARGUMENT

     I.    The court should deny Dimiceli’s motion for bail
           pending appeal because she failed to raise any
           substantial questions on appeal.

           A.     Standard of Review

     Bail pending appeal is only appropriate when the appeal is not

for the purpose of delay and the defendant raises a substantial

question of law or fact likely to result in either reversal, an order for

a new trial, a non-prison sentence, or a reduced sentence that would

likely be completed prior to the disposition of the appeal. 18 U.S.C.

§ 3143(b). “A ‘substantial question’ is one that is ‘fairly debatable,’ or

fairly doubtful. In, short, a ‘substantial question’ is one of more

substance than would be necessary to a finding that it was not

frivolous.” United States v. Handy, 761 F.2d 1279, 1283 (9th Cir.

1985) (internal citations omitted). The legal or factual question must

be one that is “a close question or one that very well could be decided

the other way.” Id. Dimiceli has the burden of proof to show that she

has raised a “fairly debatable” issue on appeal. United States v.

Montoya, 908 F.2d 450, 451 (9th Cir. 1990).

                                      6
   Case: 16-10157, 07/25/2016, ID: 10061467, DktEntry: 14, Page 13 of 29




           B.     Dimiceli’s below-Guidelines sentence was
                  substantively reasonable.

     A defendant’s challenge to her sentence based on a co-

defendant’s lower sentence is not cognizable as an equal protection

claim. See United States v. Ellsworth, 456 F.3d 1146, 1149 (9th Cir.

2006) (discussing rational basis review of sentencing ranges of

defendants convicted under different statutes); United States v.

Cupa-Guillen, 34 F.3d 860, 864 (9th Cir. 1994) (noting equal

protection claim requires some sort of classification difference).

Claims that sentencing disparities between co-defendants are

erroneous are generally reviewed for substantive reasonableness. See

United States v. Carter, 560 F.3d 1107, 1120-21 (9th Cir. 2009)

(properly analyzing and rejecting equal protection and substantive

unreasonableness challenge to disparate sentence between co-

conspirators). The District Court did not abuse its discretion when

sentencing Dimiceli. 1 United States v. Meyers, 847 F.2d 1408, 1416



     1 The abuse of discretion standard applies to all sentencing

decisions. See United States v. Carty, 520 F.3d 984, 993 (9th Cir.
2008) (en banc); United States v. Blinkinsop, 606 F.3d 1110, 1114
(9th Cir. 2010). A reviewing court may not reverse a sentence
because it thinks a different sentence is appropriate. Carty, 520 F.3d
at 993. Further, as this Court has recognized, “a Guidelines sentence

                                      7
   Case: 16-10157, 07/25/2016, ID: 10061467, DktEntry: 14, Page 14 of 29




(9th Cir. 1988). “Disparate sentences alone normally do not

constitute an abuse of discretion.” Id. (citing United States v.

Endicott, 803 F.2d 506, 510 (9th Cir. 1986). Although the United

States requested a sentence of 57 months for both defendants—and

continues to believe such a sentence was warranted—there is

nothing substantively unreasonable about Dimiceli’s 36-month

sentence, even in comparison to that imposed on Khalfin.

     Here, the court imposed a sentence below well below the

advisory Guidelines despite the fact that this was a wide-ranging

mortgage fraud scheme in which Dimiceli played a crucial role.

Dimiceli exploited the policies and procedures established by the

lenders to push fraudulent loan after fraudulent loan through their

systems. She knew the statements on the loan applications were

false but continued submitting the applications to earn her

commissions. She herself took advantage, obtaining at least two



‘will usually be reasonable,’ and ‘when the judge’s discretionary
decision accords with the Commission’s view of the appropriate
application of § 3553(a) in the mine run of cases, it is probable that
the sentence is reasonable.” Carty, 520 F.3d at 994 (citing Rita v.
United States, 551 U.S. 338, 350-51 (2007)).



                                      8
   Case: 16-10157, 07/25/2016, ID: 10061467, DktEntry: 14, Page 15 of 29




properties of her own through the scheme. And the scheme itself was

substantial. With respect to Dimiceli, loan applications were

submitted to no less than four lenders (Washington Mutual, Wells

Fargo, Greenpoint, and Countrywide) causing a loss of over $2M.

Further, the nature of this scheme had the effect of not just causing a

few bad loans to exist in disparate areas. Instead, it meant the

valuation of several housing developments were propped up by fraud,

and the risk of plunging home values was passed from the developers

to the victims – the lenders who funded bad loans and the legitimate

homebuyers who bought the Dubinsky brothers’ homes. All of these

factors demonstrate that Dimiceli’s 36-month sentence was

substantively reasonable.

     Nonetheless, she claims that co-defendant Khalfin received

only a 6-month sentence but with the imposition of a fine and this

means her sentence is unreasonble. The district court explained that

it did not give Khalfin a lower sentence because he was wealthy and

could afford a fine. Instead, the District Judge stated that he

considered Khalfin’s health and his exemplary prior work. Further,

Khalfin profited far less than Dimiceli, who received not only



                                      9
   Case: 16-10157, 07/25/2016, ID: 10061467, DktEntry: 14, Page 16 of 29




commissions, but money from the Dubinsky brothers as a straw

buyer (something Khalfin was not). Although the United States

believes Khalin’s sentence was too lenient, that does not somehow

mean Dimiceli’s below-Guidelines sentence is substantively

unreasonable. Thus, Dimiceli has not raised a substantial question

regarding the reasonableness of her sentence.

           C.     The court did not plainly err in calculating
                  loss.

     This Court reviews “the district court’s interpretation of the

Guidelines de novo, its application of the Guidelines to the facts for

an abuse of discretion, and its factual findings for clear error.”

United States v. Jennings, 711 F.3d 1144, 1146 (9th Cir. 2013) (citing

United States v. Williams, 693 F.3d 1067, 1072 (9th Cir. 2012)).

Where a defendant previously challenged the “district court’s factual

calculation of the amount of loss under the Guidelines,” this is

reviewed for “clear error.” United States v. Aubrey, 800 F.3d 1115,

1132 (9th Cir. 2015) (citing United States v. Stargell, 738 F.3d 1018,

1024 (9th Cir. 2013)). A district court clearly errs only if “on the

entire evidence, [a reviewing court] is left with the definite and firm

conviction that a mistake has been committed.” Id. (citations and


                                     10
   Case: 16-10157, 07/25/2016, ID: 10061467, DktEntry: 14, Page 17 of 29




internal quotations omitted). Alternatively where a defendant newly

challenges the calculation of loss on appeal having not raised the

challenge below, that is reviewed for plain error. United States v.

Armstead, 552 F.3d 769, 779 (9th Cir. 2008).

     Here, although Dimiceli initially objected to the loss amount,

she withdrew her challenge at the sentencing hearing. Thus any

claim on appeal will be subject to plain error review. The court did

not plainly err in adopting the loss amount in the PSR once Dimiceli

no longer requested an evidentiary hearing. The United States

explained in its submissions that the loss amount used by the

Probation Office properly subtracted the amount obtained in

foreclosure from the balance owed on the loan, and that it would

present at a hearing the publicly-available documents demonstrating

the foreclosure sale amounts (and the loan / sale amounts were

introduced at trial). Dimiceli, who has the burden both in this bail

motion and under a plain error analysis, has failed to show any error

by the Court in accepting the uncontested loss amount, much less

one that affected her substantial rights—particularly when the Court

imposed a below-Guidelines sentence. As such, she has failed to



                                     11
   Case: 16-10157, 07/25/2016, ID: 10061467, DktEntry: 14, Page 18 of 29




raise a substantial question regarding the calculation of loss under

the advisory Guidelines.

           D.     There was sufficient evidence of mailings to
                  support Dimiceli’s mail fraud convictions.

     Dimiceli failed to file a Rule 29 motion, therefore on appeal, her

challenge to the sufficiency of evidence will be reviewed for plain

error. See United States v. Pelisamen, 641 F.3d 399, 409 n.6 (9th Cir.

2011). “The plain-error standard of review dictates that reversal is

warranted only where there has been (1) error; (2) that is plain; (3)

that affects substantial rights; and (4) where the error seriously

affects the fairness, integrity, or public reputation of judicial

proceedings.” Id. at 404; see also United States v. Olano, 507 U.S.

725, 732 (1993). Further, when applying plain error review with

respect to sufficiency of the evidence, the Court “must give great

deference to the jury verdict and ‘must affirm if any rational trier of

fact could have found the evidence sufficient.’” Pelisamen, 641 F.3d

at 409 n.6 (citations omitted).

     At trial, the United States called two county clerks (one from

Sacramento and one from Calaveras County) who discussed that it is

the habit, custom, and practice of those county recorders to mail


                                     12
   Case: 16-10157, 07/25/2016, ID: 10061467, DktEntry: 14, Page 19 of 29




deeds of trust to the lenders after they are recorded. Although each

witness noted occasions where couriers picked up recorded deeds of

trust (in the case of the Calaveras County recorder, she was only

aware of three times over her decades in the office that a courier

picked up a deed of trust), the markings and instructions for the

deeds of trust to the county recorders asked that they be mailed.

Moreover, the lenders were located out-of-state or in Southern

California, further reducing the likelihood that a courier picked up

the deeds found in the lenders’ files. It is well established that, when

“faced with a record of historical facts that supports conflicting

inferences [a court] must presume—even if it does not affirmatively

appear in the record—that the trier of fact resolved any such

conflicts in favor of the prosecution, and must defer to that

resolution.” Jackson v. Virginia, 443 U.S. 307, 326 (1979). Thus, the

jury is presumed to resolve any conflicts in favor of finding that the

deeds were mailed. Accordingly, given the deferential standard of

plain error review and sufficiency of the evidence, the defendant’s

bare allegation of insufficient proof does not create a substantial

question as to whether the mailings occurred.



                                     13
   Case: 16-10157, 07/25/2016, ID: 10061467, DktEntry: 14, Page 20 of 29




           E.     Dimiceli’s claims of ineffective assistance are
                  not ripe and otherwise lack merit.

                  1.  An ineffective assistance claim is
                  premature

     A claim of ineffective assistance of counsel should be brought as

a habeas corpus claim under 28 U.S.C. § 2255. Ineffective assistance

of counsel claims are a form of collateral attack and not properly

considered on direct appeal. See United States v. Steele, 733 F.3d

894 .897 (9th Cir. 2013) (stating that ineffective assistance of counsel

claims are “generally inappropriate on direct appeal” and should be

raised via habeas corpus); United States v. Ross, 206 F.3d 896, 900

(9th Cir. 2000). This Court has consistently stated that it will not

review challenges to the effectiveness of defense counsel on direct

appeal. See, e.g., United States v. Laughlin, 933 F.2d 786, 788 (9th

Cir. 1991) (noting generalized assertions were only record, lack of

opportunity for former defense counsel to explain actions, and lack of

foundation for alleged errors); United States v. Houtchens, 926 F.2d

824, 828 (9th Cir. 1991); United States v. Birges, 723 F.2d 666, 670

(9th Cir. 1984). This is primarily because habeas corpus proceedings

allow full development of facts outside the trial record that are



                                     14
   Case: 16-10157, 07/25/2016, ID: 10061467, DktEntry: 14, Page 21 of 29




necessary to evaluate an ineffective assistance of counsel claim. See

United States v. Pope, 841 F.2d 954, 958 (9th Cir. 1988) (“Challenge

by way of a habeas corpus proceeding is preferable as it permits the

defendant to develop a record as to what counsel did, why it was

done, and what, if any, prejudice resulted.”). This is particularly true

in this case where Dimiceli, in her pending motion, repeatedly refers

to alleged extra-record evidence to ostensibly support her claims of

ineffective assistance, including with respect to the issue of her

testifying. As the district court properly noted, her trial counsel’s

statements about the interaction with Dimiceli and the decision-

making would be critical on this issue. Because an ineffective

assistance of counsel claim on direct appeal is not likely to succeed in

overturning the verdict, the claim fails to raise a substantial

question of law or fact, and this Court should deny the motion to stay

execution of sentence.

                  2.    Dimiceli failed to show a substantial
                  question regarding the performance of her
                  trial counsel

     In order to demonstrate ineffective assistance of counsel, a

defendant must first establish that the representation fell “below an



                                     15
   Case: 16-10157, 07/25/2016, ID: 10061467, DktEntry: 14, Page 22 of 29




objective standard of reasonableness.” Strickland v. Washington, 466

U.S. 668, 687-88 (1984). Second, a defendant must demonstrate

prejudice—i.e., that there is a “reasonable probability that, but for

the counsel’s unprofessional errors, the result of the proceeding

would have been different. A reasonable probability is a probability

sufficient to undermine the confidence in the outcome.” Strickland,

466 U.S. at 694. As the Supreme Court more recently explained,

“[s]urmounting Strickland’s high bar is never an easy task.’” Cullen

v. Pinholster, 563 U.S. 170, 197 (2011) (citation omitted). “The

Strickland standard must be applied with scrupulous care.” Id.

(citations and internal quotations omitted).

     With respect to the first prong, courts are required to make

every effort to “eliminate the distorting effects of hindsight, to

reconstruct the circumstances of counsel’s challenged conduct, and to

evaluate the conduct from counsel’s perspective at the time.”

Strickland, 466 U.S. at 669. Courts must also “indulge a strong

presumption that counsel’s conduct falls within the wide range of

reasonable professional assistance.” Id. at 689. The defendant’s

conclusory arguments that trial counsel was ineffective lack



                                     16
   Case: 16-10157, 07/25/2016, ID: 10061467, DktEntry: 14, Page 23 of 29




evidentiary support (the burden is on the defendant to demonstrate a

“substantial question”) and fail to raise a colorable argument that

trial counsel was ineffective.

     Dimiceli claims her counsel was ineffective for advising her not

to testify. Trial counsel was absolutely correct to advise Dimiceli not

to testify because, as detailed in the government’s trial brief and the

sentencing memo, Dimiceli gave a proffer where she admitted her

wrongful conduct and her guilt. See C.R. 95, C.R. 173. Had Dimiceli

testified, she necessarily would have perjured herself given the

evidence and her own prior statements to agents, thus likely

enhancing her sentence.

     Moreover, the Court directly inquired of Dimiceli whether she

wanted to testify and she answered in the negative. This Court and

district courts have repeatedly rejected ineffective assistance of

counsel claims in similar situations. See, e.g., Horton v. Mayle, 408

F.3d 570, 577 (9th Cir. 2005) (rejecting ineffective assistance claim

challenging failure to call defendant to testify because defendant

gave no “signal at trial” that he wished to testify or would have

testified); McElvain v. Lewis, 283 F.Supp.2d 1104, 1117-18 (C.D. Cal.



                                     17
   Case: 16-10157, 07/25/2016, ID: 10061467, DktEntry: 14, Page 24 of 29




2003); (“Since petitioner remained silent when his trial counsel

rested the defense without calling him as a witness, he has waived

his right to testify and cannot now claim ineffective assistance of

counsel due to his counsel's failure to call him as a witness.”)

(internal citation omitted).

     Additionally, the conclusory allegations raised in the motion for

a stay contradict the record in this case, and fail to allege any

decision made by trial counsel that was deficient or any prejudice

sufficient to satisfy the Strickland standard. Therefore, Dimiceli has

not established a substantial question concerning trial counsel’s

competence, or that counsel’s advice undermines the outcome of this

case, and this Court should deny the motion.

     II.   Dimiceli’s Rule 9 argument establishes her own
           violation of the rule.

     In 1994, Federal Rule of Appellate Procedure 9(a)(1) was

amended to read:


     The district court must state in writing, or orally on
     the record, the reasons for an order regarding the
     release or detention of a defendant in a criminal case.
     A party appealing from the order must file with the
     court of appeals a copy of the district court's order and
     the court's statement of reasons as soon as practicable


                                     18
   Case: 16-10157, 07/25/2016, ID: 10061467, DktEntry: 14, Page 25 of 29




     after filing the notice of appeal. An appellant who
     questions the factual basis for the district court's order
     must file a transcript of the release proceedings or an
     explanation of why a transcript was not obtained.

The District Court stated its reasons why it denied Dimiceli’s motion

to stay execution of the sentence at the June 13, 2016, hearing. C.R.

192. Dimiceli’s counsel has not ordered the transcript of the June 13

hearing. Both United States v. Bennett, 444 F.2d 535 (9th Cir. 1971),

and United States v. Wheeler, 795 F.2d 839, 842 (9th Cir. 1986)

interpreted the pre-1994 version of Rule 9. Instead of being an

argument for remand, Dimiceli’s non-compliance with Rule 9 is

grounds for denial of the motion because under Circuit Rule 9-1.2(b),

Dimiceli’s failure to explain why she has not tried to obtain the

transcript of the June 13 hearing is “prima facie evidence that the

appeal is taken for the purpose of delay within the meaning of 18

U.S.C. § 3143(b).” 2 This Court should deny the motion for bail



2 Circuit Rule 9-1.2(b) states:



     A movant for bail pending appeal shall also attach to
     the motion a certificate of the court reporter containing
     the name, address, and telephone number of the
     reporter who will prepare the transcript on appeal and
     the reporter’s verification that the transcript has been
     ordered and that satisfactory arrangements have been

                                     19
   Case: 16-10157, 07/25/2016, ID: 10061467, DktEntry: 14, Page 26 of 29




pending appeal because Dimiceli’s non-compliance with Rule 9 shows

her appeal is taken for the purposes of delay.

                                CONCLUSION

     The United States respectfully requests that this Court deny

Dimiceli’s motion to stay execution of sentence.

                                      Respectfully submitted,

                                      BENJAMIN B. WAGNER
                                      United States Attorney

                                      /s/ Roger Yang
                                      ROGER YANG
                                      Assistant United States Attorney




     made to pay for it, together with the estimated date of
     completion of the transcript. A motion for bail which
     does not comply with part (b) of this rule will be prima
     facie evidence that the appeal is taken for the purpose
     of delay within the meaning of 18 U.S.C. § 3143(b).


                                     20
   Case: 16-10157, 07/25/2016, ID: 10061467, DktEntry: 14, Page 27 of 29




                     STATEMENT OF RELATED CASES

     The United States is not aware of any related cases before this

Court.




                                     21
   Case: 16-10157, 07/25/2016, ID: 10061467, DktEntry: 14, Page 28 of 29




                        CERTIFICATE OF COMPLIANCE

     Pursuant to Ninth Circuit Rule 27(d)(2), I certify that the

United States’s Reponses In Opposition To Motion for Bail Pending

Appeal is 3737 pages.


DATED: July 25, 2016                  /s/ Roger Yang
                                      ROGER YANG
                                      Assistant United States Attorney




                                     22
   Case: 16-10157, 07/25/2016, ID: 10061467, DktEntry: 14, Page 29 of 29




                         CERTIFICATE OF SERVICE

          When All Case Participants are Registered for the
                    Appellate CM/ECF System

     I hereby certify that on July 25, 2016, I electronically filed the

foregoing with the Clerk of the Court for the United States Court of

Appeals for the Ninth Circuit by using the appellate CM/ECF

system.

     I certify that all participants in the case are registered CM/ECF

users and that service will be accomplished by the appellate CM/ECF

system.

                                      /s/ Roger Yang
                                      ROGER YANG
                                      Assistant United States Attorney




                                     23
